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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ROBERTO ANGEL, ET AL.,
                      Plaintiffs,
                                                                    20-CV-5876 (JPO)
                     -v-
                                                                         ORDER
 TAO GROUP INC., ET AL.,
                               Defendants.


J. PAUL OETKEN, District Judge:

       Defendants were served on September 11 and September 17, 2020. However, no

appearance has been entered on Defendants’ behalf, and no response to the complaint has been

filed in the allotted time. Plaintiff has not moved for a default judgment.

       Plaintiff is directed to notify the Court whether it intends to move for default judgment,

or if it has received any communication from Defendants or their counsel regarding a response to

the complaint.

       If Plaintiff files for default, it shall comply with the following procedures:

       1. Obtain a Clerk’s Certificate of Default by following the instructions in Section 16.1 of
       the SDNY’s ECF Rules & Instructions, available at www.nysd.uscourts.gov/rules/ecf-
       related-instructions

       2. Serve and file a motion for default judgment, with the supporting materials as laid out
       in this Court’s individual practices, available at nysd.uscourts.gov/hon-j-paul-oetken.

       3. File an affidavit of service within fourteen days of filing the motion for default
       judgment; if more time is required, Plaintiff should file a letter on ECF explaining why
       additional time is necessary and when Plaintiff anticipates service will be completed.

       If Plaintiff fails by November 6, 2020 to either (1) file a letter concerning the status of the

case, or (2) move for default judgment against Defendant, the action may be dismissed for failure

to prosecute.

       Plaintiff is directed to serve a copy of this order by mail on Defendant.


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      SO ORDERED.

Dated: October 20, 2020
       New York, New York

                                   ____________________________________
                                              J. PAUL OETKEN
                                          United States District Judge




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